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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA




J.G.G., et al.,


Petitioner,
v.                                                     No. 1:25-cv-766 (JEB)
DONALD J. TRUMP, et al.,
                                                       Declaration Of Acting Field Office Director
                                                       Robert L. Cerna
Respondents.


                            DECLARATION OF ROBERT L. CERNA


I, Robert L. Cerna, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.         I am an Acting Field Office Director Enforcement and Removal Operations

(“ERO”) at U.S. Immigration and Customs Enforcement (“ICE”) within the U.S. Department of

Homeland Security (“DHS”).

       2.         As the (A)FOD of the Harlingen Field Office, I am responsible for, among other

things, the detention and enforcement operations of more than 350 employees, assigned to six

ERO Harlingen offices. ERO Harlingen encompasses fifteen South Texas counties and is

responsible for six detention facilities with a combined total of 3,790 detention beds. I began my

career with the U.S. Government as a detention enforcement officer with the former Immigration

and Naturalization Service in Laredo, TX. Over time I was promoted into ICE leadership

positions, including Supervisory Detention and Deportation Officer for both the Harlingen and
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San Antonio Field Offices and Assistant Field Office Director and Deputy Field Office Director

for the Harlingen Field Office.

       3.      I am aware that the instant lawsuit has been filed regarding the removal of

Venezuelan members of Tren de Aragua (“TdA”) pursuant to the Alien Enemies Act (AEA).

       4.      I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.

       5.      On March 15, 2025, President Trump announced the Proclamation Invocation of

the Alien Enemies Act Regarding the Invasion of The United States by Tren De Aragua stating

that, “Evidence irrefutably demonstrates that TdA has invaded the United States and continues to

invade, attempt to invade, and threaten to invade the country; perpetrated irregular warfare

within the country; and used drug trafficking as a weapon against our citizens” (the

Proclamation) (https://www.whitehouse.gov/presidential-actions/2025/03/invocation-of-the-

alien-enemies-act-regarding-the-invasion-of-the-united-states-by-tren-de-aragua/). In the same

Proclamation, President Trump announced that, pursuant to 50 U.S.C. § 21, “all Venezuelan

citizens 14 years of age or older who are members of TdA, are within the United States, and are

not actually naturalized or lawful permanent residents of the United States are liable to be

apprehended, restrained, secured, and removed as Alien Enemies.”

       6.      Members of TdA pose an extraordinary threat to the American public. TdA

members are involved in illicit activity to invoke fear and supremacy in neighborhoods and with

the general population. This has been evident from investigations throughout the nation where

TdA members coalesce to conduct their criminal acts. For example, TdA’s takeover of Denver

apartment buildings stoked fear in the tenants when TdA committed burglaries, narcotics, and
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weapons violations. Other inquiries into the actions of member of TdA have resulted in criminal

investigations and prosecution of cases of human trafficking, to include trafficking of women

from Venezuela; bank fraud; federal narcotics violations; extortion of human smuggling victims;

and homicide, to name a few. This, along with the myriad state violations and investigations of

groups of TdA members committing crimes throughout the nation are evidence of their criminal

enterprise.

       7.      Agency personnel carefully vetted each individual alien to ensure they were in

fact members of TdA. Officers and agents well versed in gang activity in general and TdA in

particular reviewed the information gathered on each alien, identifying TdA members based upon

the results of investigative techniques and information such as previous criminal convictions for

TdA-related activities, other court records indicating membership in TdA, surveillance, law

enforcement encounters, interviews with the TdA member, testimonies and statements from

victims of the TdA member, evidence that the alien had committed crimes in coordination with

known members of TdA, evidence that the alien had committed sophisticated financial

transactions with known members of TdA, computer indices checks, and admission of TdA

membership by the alien. ICE did not simply rely on social media posts, photographs of the alien

displaying gang-related hand gestures, or tattoos alone.

       8.      It was critical to remove TdA members subject to the Proclamation quickly. These

individuals were designated as foreign terrorists. Within Venezuela, TdA was able to grow its

numbers from the steady prison population and build its criminal enterprise through the extortion

of inmates. Keeping them in ICE custody where they could potentially continue to recruit new

TdA members posed a grave risk to ICE personnel; other, nonviolent detainees; and the United
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States as a whole. Holding hundreds of members of a designated Foreign Terrorist Organization,

where there is an immediate mechanism to remove them, would be irresponsible.

       9.      While it is true that many of the TdA members removed under the AEA do not

have criminal records in the United States, that is because they have only been in the United

States for a short period of time. The lack of a criminal record does not indicate they pose a

limited threat. In fact, based upon their association with TdA, the lack of specific information

about each individual actually highlights the risk they pose. It demonstrates that they are

terrorists with regard to whom we lack a complete profile.

       10.     However, even though many of these TdA members have been in the United

States only a short time, some have still managed to commit extremely serious crimes. A review

of ICE databases reveals that numerous individuals removed under the AEA have arrests and

convictions in the United States for dangerous offenses, including an individual alleged to have

committed murder; an individual with pending state charges for aggravated assault with weapon

and who was identified by state authorities related to an armed home invasion and kidnapping;

an individual with a state arrest for harassment, and indecent assault where he entered the room

of a fourteen-year-old victim, tried to lift her shirt, grabbed her thigh, and rubbed his penis on

her; an individual who was arrested for fourth-degree grand larceny and resisting arrest who was

encountered in a home with other gang members, three automatic rifles, two handguns, and

extended magazines; an individual convicted of conspiracy to harbor aliens, in violation of 8

U.S.C. § 1325(a)(1)(A)(v)(I) and (a)(1)(B)(i), involving his role in a stash house—including his

job of taking and restricting access to the victims’ cell phones—where officers and agents

located sixteen individuals in the stash house, including a pregnant female and a fifteen-year-old

unaccompanied child; an individual arrested for a misdemeanor sex offense and felony assault;
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an individual with a state arrest for second-degree assault, intent to cause injury with

weapon/instrument; an individual arrested for second-degree assault with intent to cause serious

physical injury in a manner injure child less than seventeen, for which there is an order of

protection in the case; an individual arrested at a TdA-run brothel and charged with evading

arrest, promoting prostitution, possession of fentanyl, and possession of marijuana; an individual

arrested for property damage, assault and simple assault; as well numerous other theft and

larceny-related offenses.

       11.     Additionally, a review of ICE databases reveals that numerous individuals

removed have arrests, pending charges, and convictions outside of the United States, including

an individual who is under investigation by Venezuelan authorities for the crimes of aggravated

homicide, qualified kidnapping, and illegal carrying of weapons of war and short arms with

ammunition for organized gang in concealment and trafficking; an individual who is the subject

of an active INTERPOL Blue Notice issued on or about January 2, 2025, and a Red Notice

issued February 5, 2025, for the crime of kidnapping and rape in Chile; an individual who is the

subject of an INTERPOL Red Notice issued by Chile for kidnapping for ransom and criminal

conspiracy involving TdA; an individual who admitted he sold marijuana and crystal

methamphetamine for the Colombian gang Las Paisas, assaulted someone with a knife for a

cellphone while living in Venezuela, and has twice robbed people for money while living in

Colombia; an individual who is the subject of an INTERPOL Red Notice for child abduction; an

individual identified as a “high-ranking” member of the TdA by the Mobile Tactical Interdiction

Unit in Guatemala City, Guatemala; an individual who is the subject of an INTERPOL Red

Notice based on obstruction of justice, criminal conspiracy, and aggravated corruption based on

the individual’s role as a police officer in modifying evidence to cover up a murder; an individual
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who, according to Peruvian Newspapers, is associated with high-ranking TdA members and who

fled Peru while under investigation for illegal possession of firearm and distributing narcotics; an

individual who is the subject of an INTERPOL Blue Notice stating that he is under investigation

in Venezuela for murder with aggravating circumstances against a victim whose corpse was

found inside a suitcase on a dirt road; and an individual who is the subject of an warrant from

Chile for carrying or holding a weapon subject to control.

       12.     According to a review of ICE databases, numerous individuals removed were

arrested together as part of federal gang operations, including two individuals who were in a

vehicle during a Federal Bureau of Investigations gun bust with known TdA members; four

individuals who were arrested during the execution of an Homeland Security Investigations New

York City operation; and four individuals who were encountered during the execution of an

arrest warrant targeting TdA gang member, all of whom were in a residence with a firearm and

attempted to flee out the back of the residence.


I declare under penalty of perjury that the foregoing is true and correct.


Executed this 17th day of March 2025.
                                              ROBERT L Digitally        signed by
                                                               ROBERT L CERNA II

                                              CERNA II Date:         2025.03.17
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                                              Robert L. Cerna
                                              Acting Field Office Director
                                              Enforcement and Removal Operations
                                              U.S. Immigration and Customs Enforcement
                                              U.S. Department of Homeland Security
